8:04-cr-00294-LSC-FG3       Doc # 201      Filed: 07/10/08     Page 1 of 1 - Page ID # 759




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )               CASE NO. 8:04CR294
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                     ORDER
                                             )
DARRIN L. HAYNES,                            )
                                             )
             Defendant.                      )

      This matter is before the Court on its own motion regarding a potential reduction in

sentence pursuant to crack cocaine Amendment 706. Defense counsel has entered an

appearance. (Filing No. 195.)

      IT IS ORDERED:

      1.     Counsel must file a motion, simultaneous briefs and/or a joint stipulation

             within thirty (30) days from the date of this order, regarding the Defendant’s

             potential reduction in sentence pursuant to crack cocaine Amendment 706;

      2.     The Probation Office must submit a worksheet within thirty (30) days; and

      3.     The Clerk is directed to e-mail a copy of this Order to the U.S. Probation

             Office.

      DATED this 10th day of July, 2008.

                                                 BY THE COURT:


                                                 s/Laurie Smith Camp
                                                 United States District Judge
